39 F.3d 1176
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Steve HICKMAN, Petitioner Appellant,v.UNITED STATES of America, Respondent Appellee.
    No. 94-6816.
    United States Court of Appeals, Fourth Circuit.
    Submitted September 26, 1994.Decided October 27, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-94-330)
      Steve Hickman, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2241 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hickman v. United States, No. CA-94-330 (E.D.N.C. June 22, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    